Case 23-11283-pmm             Doc 25      Filed 07/20/23 Entered 07/20/23 11:30:28                    Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: Samuel Delacruz                                                                CHAPTER 7
                                  Debtor(s)

Bank of America, N.A.
                                  Movant
                vs.                                                               NO. 23-11283 PMM

Samuel Delacruz
                                  Debtor(s)

Bonnie B. Finkel Esq.                                                            11 U.S.C. Section 362
                                  Trustee

                             NOTICE OF MOTION, RESPONSE DEADLINE
                                      AND HEARING DATE


       Bank of America, N.A. has filed a Motion for Relief from Stay, with the court for Relief from the
 Automatic Stay of Section 362.

         Your rights may be affected. You should read these papers carefully and discuss them with
 your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish
 to consult an attorney.)

        1.     If you do not want the court to grant the relief sought in the motion, then on or before
 August 03, 2023, you or your attorney must do all of the following:
               (a)      file an answer explaining your position at:
                                 United States Bankruptcy Court
                                 The Gateway Building
                                 201 Penn Street, Suite 103
                                 Reading, PA 19601

 If you mail your answer to the bankruptcy clerk's office for filing, you must mail it early enough so that it will
 be received on or before the date stated above; and
                  (b)      mail a copy to the movant's attorney:
                                    Bankruptcy Group
                                    KML Law Group, P.C.
                                    Suite 5000 – BNY Independence Center
                                    701 Market Street
                                    Philadelphia, PA 19106-1532

          2.      If you or your attorney do not take the steps described in paragraphs 1(a) and 1(b) above and
 attend the hearing, the court may enter an order granting the relief requested in the motion.

         3.      A hearing on the motion is scheduled to be held before the Honorable Patricia M. Mayer
 Judge, the United States Bankruptcy Judge, in Courtroom 4th Floor at the United States Bankruptcy Court,
 201 Penn Street, Suite 103, Reading, PA 19601 on August 15, 2023, at 10:00 AM., or as soon thereafter as
 counsel can be heard, to consider the motion.

          4.      If a copy of the motion is not enclosed, a copy of the motion will be provided to you if you
 request a copy from the attorney named in paragraph 1(b).
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        5.      You may contact the Bankruptcy Clerk's office at 215-408-2800 to find out whether the
hearing has been canceled because no one filed an answer.



                                                   /s/ Michael P. Farrington
                                                   Michael P. Farrington, Esquire
                                                   KML Law Group, P.C.
                                                   701 Market Street, Suite 5000
                                                   Philadelphia, PA 19106-1532
                                                   Phone: (215) 627-1322 Fax: (215) 627-7734
                                                   Attorneys for Movant/Applicant
July 20, 2023
